¢‘\‘eJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/20l1)

 

 

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. n Investigating Agency VA*OIG

City B€dford Related Case Information:

County Middl%ex Superseding lnd./ Inf. Case No.

 

Same Defendant New Defendant
Magistrate Judge Case Number 1117_‘ml~7219~JCB
Search Warrant Case Number 1117~m1~6075-JCB

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

R ZO/R 40 from Distn'ct of
Defendant Information:
Defendant Name D€mOll@ COI€IH@H Juvenile: |:| Yes No
ls this person an attorney and/or a member of any state/federal bar: |:| Yes No
Alias Name
Address (Citv & State) BOStOD» MA
Birch date (Yr emy); § ssN (1asi4#); 5674 sex M_ Raee; B Nerienality; U~S-
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA Nich°las SOiVilieD Bar Number if applicable 675757
Interpretel°: |:| Yes -No List language and/or dialect:
Victims: [__`|Yes -No If yes, me mere multiple ei-ime victims under 18 Usc§3771(d)(2) |:| Yes |:|Ne
Matter to be SEALED: Yes |:| No
-Warrant Requested |:| Regular Process |:| ln Custody
Location Status:
Arrest Date
|:]Already in Federal Custody as of in
|:|Already in State Custody at [:|Sewing Sentence |:|Awaiting Trial
l:| On Pretrial Release: Ordered by: on
Charging Document: Complaint |:| lnfoimation |:l Indictment
Total # of Counts: |:|Petty __ |:|Misdemeanor _ Felony

Continue on Page 2 for Entry ofU.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Ma istrate Judge are
accurately set forth above.

 

Date: 10/31/2()17 Signature ofAUSA:

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk):

 

Name of Defendant Demone Coleman

U.S.C. Citations
Index Key/Code Description of Offense Charged Count Numbers

Distribution of a Controlled Substance
Set 1 21 U.S.C. §84l(a)(l) l, 4

Set 2

 

 

Set 3

 

 

Set 4

 

 

Set 5

 

 

Set 6

 

 

Set 7

 

 

Set 8

 

 

Set 9

 

 

Set 10

 

 

Set ll

 

 

Set 12

 

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL lNFORMATION:

 

 

 

 

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